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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

 MATTHEW LAUZON,                                  )
                                                  )
                 Plaintiff                        )
                                                  )
 vs.                                              )          Civil Action No. CV-16-cv-51-LEW
                                                  )
 STEPHEN DODD,                                    )
 ROGER BEAUPRE, and                               )
 CITY OF BIDDEFORD                                )
                                                  )
                 Defendants                       )

       CITY DEFENDANTS’ PARTIAL MOTION FOR SUMMARY JUDGMENT AND
                    MEMORANDUM OF LAW IN SUPPORT

         Defendants Roger Beaupre and City of Biddeford (“City Defendants”) seek summary

judgment and with the Court’s consent (see ECF Nos. 136 and 137), limit this filing to three discrete

issues. The City Defendants argue that the Plaintiff’s complaint has been filed outside the statute of

limitations and that no extended “accrual” period is warranted. Second, the actions of co-Defendant

Dodd, the alleged sexual perpetrator, were not done “under color of law” and an action against the

City Defendants cannot be sustained. Third, the conduct of Chief of Biddeford Police Roger Beaupre,

sued in his individual capacity, did not violate the Plaintiff’s constitutional rights and he is entitled to

dismissal based on the doctrine of qualified immunity. Each issue will be discussed in turn.

                  I. Plaintiff’s Claims are Barred by the Statute of Limitations

                                 A. Overview and Factual Background

         In Plaintiff’s Complaint, filed on October 29, 2015 in the Maine Superior Court, York County,

(ECF No. 3-1) Lauzon alleged three separate counts against the City Defendants. Two of those counts

alleged violations of 42 U.S.C. § 1983 were carried forward in the Plaintiff’s Amended Complaint.

(ECF No. 45). Count II alleges civil rights violations against Chief Beaupre individually. Count III

makes an entity liability claim against Chief Beaupre in his official capacity and the City of Biddeford


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for their purported failure to train/supervise/discipline the co-Defendant, Stephen Dodd. The City

Defendants renew their legal challenge related to the statute of limitations1 with the benefit of

completed discovery and an extensive factual record.

         The City Defendants’ dismissal is grounded on three particulars. First, the Plaintiff’s claim is

outside the 6-year statute of limitations which expired on                             , the six-year anniversary of

his reaching the age of majority. He failed to pursue his claim with “reasonable diligence” during the

period of limitations, see, e.g., Marrapese v. Rhode Island, 749 F.2d 934, 943 (1st Cir. 1984), in part, because

he made a personal decision not to pursue his sexual abuse claim until age 30. Second, an extended

accrual period or the “discovery rule” is not available to him where the evidence establishes that the

factual basis of his 2015 Complaint was not “inherently unknowable” see, e.g., Attallah v. United States,

955 F.2d 776, 780 (1st Cir. 1992), during the limitations period. And third, renewing their claim on

motion to dismiss with the completed discovery record, the lack of a viable constitutional liability

finding against Dodd precludes liability against the City Defendants under applicable First Circuit

precedent. Nieves v. McSweeney, 241 F.3d 46, 50 (1st Cir. 2001). Following the factual background, each

legal claim will be explored in turn.

         The Plaintiff has alleged that his sexual abuse by co-Defendant Dodd occurred at various

points of time, ranging from ages 13 to 16. (SMF 36-43 and 126-131). Plaintiff reached the age of

majority on January 13, 2003 during his senior year in high school. (SMF 1 and 353). In October 2014,

Lauzon made contacts with the Maine State Police and the BPD to report his sexual abuse by a

neighbor, Michael McKeown and Dodd. (SMF 7 and 389-390).


1
  City Defendants filed a motion to dismiss Plaintiff’s Amended Complaint because the statute of limitations applicable
to federal and civil right claims has expired. (ECF No. 19). After initial briefing, (ECF Nos. 33, 39), Judge Hornby
made a preliminary ruling (ECF No. 41 at 12-13) that the lack of a developed factual record precluded definitive action
on the City Defendants’ statute of limitations defense at the Rule 12 (b)(6) stage. Plaintiff’s claim that fraudulent
concealment tolled the statute of limitations was rejected. (ECF No. 41 at 12-13, n. 7; Lauzon v Dodd, 2016 WL 3906618
*4 (July 14, 2016)). Judge Hornby ordered additional briefing on the Nieves issue (ECF No. 41 at 13-15) and declined to
apply the Nieves rule given factual distinctions between Nieves and the undeveloped record on Rule 12(b)(6) here. (ECF
No. 56).

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         Lauzon had previously denied to BPD officers that he had been abused by McKeown during

a July 2000 investigation of McKeown’s activities. (SMF 36-61 and 66-116). Lauzon blamed his “very

homophobic” father for his false statements to BPD. (SMF 100-105). Lauzon’s father died in May

2005, after which Lauzon felt liberated to speak about his sexual abuse. (SMF 354). Yet, he made the

conscious decision to confront Dodd only when he reached age 30,                                    , claiming he was

“laser focused” on accumulating as much wealth and power2 as he could to accomplish his

confrontation of Dodd. (SMF 355-357).

         Between 2005 and 2014, Lauzon conceded he did “very little” and “kept a low profile” to

investigate or pursue any claim against Dodd but maintains he was “extraordinarily focused” and was

not “obsessed” by pursuit of this claim. (SMF 358-359). Yet, between 2005 and 2014, Lauzon was

aware of other individuals coming forward with past claims of sexual abuse and he told close friends

and family of his sexual abuse at the hands of both Michael McKeown and Dodd between 2005 to

2012. (SMF 361, 367, 372 and 379). Lauzon testified he didn’t know why he didn’t report Dodd’s

abuse between 2005 to 2010, but his conscious decision from 2005 forward to delay his confrontation

with Dodd included not receiving mental health counseling until 2013. (SMF 356 & 380).

         Between 2005 and 2014 Lauzon did not communicate with anyone connected with the BPD

concerning Dodd. (SMF 352 and 365-366). This failure is part of a larger backdrop where, at the time

of Dodd’s alleged abuse, Plaintiff knew that Dodd was a BPD officer, “identified himself as a BPD

officer when he offered to help [Plaintiff],” and allegedly Dodd “used his power and authority” as a




2
  In 2013, Lauzon made approximately $1.5 million dollars on “day trading” stocks toward his goal of accumulating as
much wealth and power as he could to confront Dodd. (SMF 381). His success in 2013 made him “among the best day-
traders in the world.” (SMF 382). Lauzon testified that even though he had amassed $1.5 million in 2013 he did not
have “personal confidence” to report his abuse. (SMF 383). In 2014, Lauzon lost approximately $1.5 million dollars day-
trading. (SMF 384). Only after he lost $1.5 million and read an article in 2014 on sexual abuse by a fellow internet CEO,
Razwana Birschir, and talked with her about starting his own survivor’s organization, did he have the personal
confidence to report his abuse. (SMF 385-388).

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police officer to “sexually assault him and keep him from disclosing” the abuse. (ECF Nos. 3-1, ¶ ¶

13-15 and 45, ¶ 22).

         To circumvent the statute of limitations, Plaintiff alleges that he “first discovered the

involvement of Chief Beaupre and the City sometime in 2014/2015 during preliminary investigations

into the claims made in this complaint.” (ECF No. 45 ¶ 26 and SMF 396). He first learned of Chief

Beaupre’s alleged involvement in a conspiracy or coverup of sexual abuse in late 2014 from former

Biddeford Junior Firefighters John Drake and Jonathan Clark. (SMF 397-398). Both men are high

school contemporaries of Lauzon and describe themselves as his friends or acquaintances. (SMF 250-

251, 278-279 and 399). An examination of the information from Drake and Clark reveals that there

was nothing “inherently unknowable” from these sources. Indeed, Drake’s information was based on

a confabulation of his limited, personal involvement in events leading up to and during the MeOAG

investigation of Dodd in 2002, his personal opinions based on their 2002 experiences, and speculation

about things he had no personal knowledge and have now proven to be inaccurate. (SMF 400-410).3

Similarly, the information from Clark was based on knowledge he claimed to have through the 2002




3
  Drake gave information to Lauzon in November 2014 alleging a cover-up by Chief Beaupre of Dodd misconduct
motivated by a supposed sexual relationship between Dodd and Chief Beaupre. (SMF 399). Drake exchanged Facebook
messages with Lauzon and others in 2014-2015 claiming Dodd had pictures of Beaupre’s alleged homosexuality. (SMF
401). Drake testified he has never seen the compromising pictures about which he posted on social media, and Dodd
denied making such a claim to anyone. (SMF402-403). Plaintiff never produced any evidence concerning the existence of
such photographs or videos. (SMF 401-403). Yet, these bald allegations in the Amended Complaint played a significant
role in the Court’s denial of the Motion to Dismiss. (See ECF Nos. 41 at 5-6 and 56).

Drake’s belief of a BPD coverup consisted of “awareness of Dodd and that he remained a police officer” after the
MeOAG investigation, although he conceded he had no first-hand information concerning a conspiracy or a cover-up
by Chief Beaupre in relation to Dodd. (SMF 404-408). Drake believed Dodd continued to work as a police supervisor
for 2 ½ years after he was served a notice in 2002 to have no contact with witnesses being interviewed by Pulire,
including former Biddeford Junior Firefighters. (SMF 405).

Except for two days in October 2002, Dodd stopped reporting for work at BPD in September 2002 due to medical
issues and retired in July 2003 without ever returning to work. (SMF 406). Drake conceded he had no information
concerning what Chief Beaupre did in connection with Dodd’s loss of law enforcement certificate. (SMF 408). Drake
also conceded he has no information concerning what Chief Beaupre knew about his (Drake’s) allegations that Dodd
violated the “no [witness] contact” order. (SMF 409 and 411). Drake’s 2015 belief was that Chief Beaupre was at fault
for not enforcing the no contact order. (SMF 410).

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MeOAG investigation of Dodd and his own interaction with Dodd in 2006 and his speculations about

what Chief Beaupre knew or did. (SMF 279-289, 292-307 and 417-428).4

         Plaintiff also received hand-written statements and information from former BPD detectives

Robert Devou and Terry Davis during the Spring of 2015. Both statements and other information

from Devou and Davis are personal recollections, opinions, and speculation about certain aspects of

their time at BPD. (SMF: Devou- 432-440, 468, 542, 548 and 580; Davis– 262-264, 274-277, 299, 432-

443, 573-574, 577, 583, 590, 656, and 660). The record reveals that the information contained in these

recollections were merely not known to the Plaintiff before he began his social media campaign in

2014-15 and did not contain anything “inherently unknowable” from these sources before

     . (Id.)

         Information from former BPD detective Devou, a handwritten letter he wrote in 2015 which

was published in the local media and read to City of Biddeford officials, detailed, without personal

knowledge, various views of the MeOAG investigation of Norman Gaudette and claims of favorable

treatment received by Dodd. (SMF 429, 430 and 432-434).5

         Information from former BPD Detective Davis provided to Lauzon concerned the 1990-1991

MeOAG investigation of Gaudette and his extreme dissatisfaction with the prosecution efforts by


4
  Clark alleges he was sexually abused by Dodd in 1998 but denied any sexual interaction with Dodd when interviewed
by MeOAG during the 2002 investigation. (SMF 292-295). Clark told Drake of Dodd’s abuse of him before either were
interviewed by MeOAG in 2002, but Drake denied he knew anyone who had been abused by Dodd during his MeOAG
interview. (SMF 287-289 and 412). Clark made his allegations of a conspiracy and coverup public in a November 3,
2006 email to former Governor John Baldacci. (SMF 415-417). Clark testified he has no first-hand knowledge Chief
Beaupre was involved in a cover-up or a conspiracy to protect Dodd. (SMF 422).
5 Devou made various allegations based on hearsay concerning an alleged sexual interaction between Chief Beaupre and
Gaudette, which were rebutted in an affidavit by Donna Hollman, Chief Beaupre’s former spouse, and the testimony of
Chief Beaupre and Gaudette. (SMF 436-437). Devou asserted other opinions regarding Beaupre’s alleged knowledge of
complaints of sexual abuse of minors by Gaudette, but made no allegations against Chief Beaupre based on his personal
knowledge involving the 2002-03 investigation of Dodd. (SMF 438-439). Devou’s allegations about the 1989 Maine
State Police investigation of the complaint against Dodd by his adult foster child Larry Carey were not based on personal
knowledge and were contradicted by sworn testimony of those with knowledge. (SMF 440 and 526-548). Devou’s
claims that Chief Beaupre altered internal affairs policies and other policies to protect Dodd, a factor in both the
Amended Complaint and the Court’s Decision on the Motion to Dismiss (ECF No. 41 at 6) have now proven to be
without factual basis. (SMF 659-668).

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MeOAG, which resulted in a “no bill” returned against Gaudette. (SMF 573-590).6 Davis did not

implicate Dodd in the alleged abuse of Lauzon. (SMF 261-264, 269 and 274-277).

                                      B.        Legal Argument

         Although 42 U.S.C. § 1983 does not contain its own statute of limitations, the United States

Supreme Court has held that statutes of limitations for Section 1983 actions are determined under

state law. Board of Regents v. Tomanio, 446 U.S. 478, 483 (1980). In Wilson v. Garcia, the U.S. Supreme

Court explained that Section 1983 operates “as a directive to select, in each State, the one most

appropriate statute of limitations for all § 1983 claims.” Wilson v. Garcia, 471 U.S. 261, 275 (1985).

There is no dispute here (ECF No. 41, 8-9) that in the State of Maine, the general six-year statute of

limitations governs civil rights actions. Small v. Inhabitants of City of Belfast, 796 F.2d 544, 546-47 (1st

Cir. 1986); see also Douglas v. York County, 433 F.3d 143, 144 (1st Cir. 2005) (applying Maine’s general

six-year statute of limitations to plaintiff’s Section 1983 claim).

         The rationale behind application of a statute of limitations is never more important than in a

case such as Plaintiff’s, which involves conspiracy and coverup claims extending back to the mid-

1980s. The purposes served include fairness to the defendant and sound judicial administration based

on the availability and reliability of evidence.7

         In accordance with the six-year limitation, Plaintiff, whose date of birth is                                       ,

was required to bring his federal claims against the City Defendants no later than                                       , six

years after reaching the age of majority, on                              . Plaintiff did not assert his federal causes

of action until October 2015. Plaintiff attempts to overcome this procedural hurdle by urging the


6
  On March 31, 2015 Davis wrote to Lauzon on Facebook that former MeOAG AAG Eric Wright, who was assigned to
oversee and prosecute the Gaudette investigation of 1990-91 “swept that case under the rug.” (SMF 441). Mainely
Media reporters interviewed Davis and published a story quoting him claiming that the AAG Wright “admits he threw
the case under the bus to the grand jury. He swept the case under the rug.” (SMF 442).

7 Statutes of limitations represent “a judgment that it is unjust to fail to put an adversary on notice to defend within a
specified period of time and the right to be free of stale claims in time comes to prevail over the right to prosecute
them.” Kubrick, 444 U.S. at 117.

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Court to apply an accrual date or “discovery rule” to his claims. (See ECF 41 at 9-10). The City

Defendants contend that the expanded post-discovery record demonstrates that the Plaintiff does not

meet the standards to have the statute tolled by virtue of federal accrual caselaw, because he did not

engage in “reasonable diligence” before the expiration of the statute of limitations, the factual basis

he “first discovered” in 2014-15 did not rise to the level of “inherently unknowable” to toll the statute

until twelve years after the start date of limitations, and the current lack of a viable constitutional

liability finding against Dodd precludes liability against the City Defendants under applicable First

Circuit precedent.

        1.      The Plaintiff Failed to Engage in “Reasonable Diligence” Before the
                Expiration of Limitations

        The accrual period for a section 1983 cause of action is governed by federal law, Delaware State

College v. Ricks, 449 U.S. 250 (1980), and begins to run when a plaintiff knows or has reason to know

of the injury which forms the basis of the action. Street v. Vose, 936 F.2d 38, 39 (1st Cir. 1991); Marrapese

v. Rhode Island, 749 F.2d 934, 936 (1st Cir. 1984), cert. denied, 474 U.S. 921. Stated otherwise, “[a] Section

1983 claim accrues when a plaintiff knows or has reason to know of his injury.” Poy v. Boutselis, 352

F.3d 479, 483 (1st Cir. 2003) (emphasis added); Nieves v. McSweeney, 241 F.3d 46, 52 (1st Cir. 2001).

The Supreme Court has clearly stated that, in an analogous inquiry, “the proper focus is on the time

of the discriminatory act, not the point at which the consequences of the act become painful.” Chardón v.

Fernández, 454 U.S. 6, 8 (1981).

        As the Court observed in Rotella v. Wood, 528 U.S. 549, 555 (2000), the “traditional federal

accrual rule” is the “injury discovery” rule, under which “discovery of the injury, not discovery of the

other elements, is what starts the clock.” A plaintiff has “a duty to exercise reasonable diligence to

investigate and protect his rights” within the limitations period. Marrapese, at 749 F.2d at 938. See also

McNamara v. City of Nashua, 629 F.3d 92, 95 (1st Cir. 2011). As Marrapese observed, “[t]he Supreme

Court [has] held that a plaintiff’s ignorance of the existence of a legal right of action based on his
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injury does not operate to delay accrual of his claim.” Id. at 943 (citing Kubrick v. United States, 444

U.S. 111 (1979)).

         How much knowledge must the Plaintiff have to trigger the running of the statute of

limitations and the reasonable diligence inquiry? One does not have to possess actual knowledge of

every element of the claim for it to accrue; instead, it accrues as soon as a plaintiff possesses

“knowledge of the facts sufficient to put him on inquiry notice” of a possible claim. Marrapese, 749

F.2d at 937. A "plaintiff is considered to be on 'inquiry notice' when the first event occurs that would

prompt a reasonable person to inquire into a possible injury at the hands of the defendant.” Epstein

v. C.R. Bard, Inc., 460 F.3d 183, 187 (1st Cir. 2006); Cascone v. United States, 370 F.3d 95, 104 (1st Cir.

2004).

         The standard of accrual under the discovery rule is an objective one, Cascone, 370 F.3d at 104,

and the “reasonable diligence component” of the rule prevents a plaintiff from preserving her claim

by “bury[ing] her head in the sand.” Skwira. United States, 344 F.3d 64, 77 (1st Cir. 2005) (quoting Diaz

v. United States, 165 F.3d 1337, 1339 (11th Cir.1999)). The duty to investigate required by the discovery

rule “is not a negligible one.” Marrapese, 749 F.2d at 943. Once a Plaintiff is “on inquiry notice as to

further aspects of the transaction, and could not simply sit back, without further investigation, and

permit the statutory period to lapse.” Id. at 944.

         Here, the Court must reject Plaintiff’s attempt to invoke the discovery rule where he knew he

had been injured and could—with the exercise of due diligence—have discovered, years before he

did, between                      (the date on which Plaintiff reached majority), and

(the latest possible date for expiration of the statute of limitations period) the basis for his claim against

the City Defendants. The Plaintiff possessed “knowledge of the facts sufficient to put him on inquiry

notice” that a possible claim could exist against Defendant Dodd’s employer. See Marrapese, 749 F.2d

at 937. The Plaintiff was on “inquiry notice” of his claim involving a BPD officer who it is alleged said


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he would help him with the abuse by McKeown and used his power and authority as a police officer

to accomplish the sexual abuse. (ECF No. 3-1, ¶ ¶ 13-15 and 45 ¶ ¶ 22 and 26). Id.; see also Plumeau

v. Sch. Dist. No. 40 County of Yamhill, 130 F.3d 432, 437 (9th Cir. 1997).8

         Plaintiff, despite being “extraordinarily focused” on his claim against Dodd between 2005 and

2014 (SMF 358), failed to take any steps to investigate his claim. Nothing stood in his way except his

own conscious decision not to act against Dodd until he was 30 years old and had amassed a fortune.

(SMF 355-360 and 380-389). Plaintiff alleges that once he undertook a preliminary investigation into

his claims in 2014/2015 he discovered the City Defendant’s involvement. (SMF 396). Had he

undertaken the preliminary investigation within the statute of limitations, he would have found the

same information. Plaintiff’s nearly thirteen-year delay was personal in nature, which is an insufficient

ground to permit tolling of his claims.

         2.        Discovery/Accrual Rule Not Applicable Where Lauzon’s Own Late
                   Investigation Proves Claims Against City and Chief Were Not “Inherently
                   Unknowable”

         To receive leniency under the discovery rule, a plaintiff must establish that the factual basis

for his claim was “‘inherently unknowable’ at the time of the injury.” Attallah, 955 F.2d at 780 (citation

omitted). A wrong can be “inherently unknowable” if it is “incapable of detection by the wronged

party through the exercise of reasonable diligence.” Borden v. Paul Revere Life Ins. Co., 935 F.2d 370, 376

(1st Cir.1991). Stated otherwise, the phrase describes a cause of action that is incapable of detection

for some prolonged period even with the exercise of reasonable diligence. See, e.g., Tagliente v. Himmer,

949 F.2d 1, 5 (1st Cir. 1991).




8
 A “plaintiff has a duty to use due diligence to discover the party responsible for her injury ... The Plumeaus knew the
abuse took place during school hours and on school property and that the abuser was a school district employee. We
agree ... that these facts were sufficient to apprise the Plumeaus of their potential claims against the district for failure to
supervise [school district employee/abuser] Moore.” Plumeau, 130 F.3d at 437.

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            At the threshold, Plaintiff is not entitled to the “inherently unknowable” plank of the discovery

 rule where his efforts during the limitations period did not rise to “reasonable diligence” or any

 diligence based on his conscious decision to await his 30th birthday before addressing his sexual abuse.

 (SMF 354-357). Nor is this a case where the statute of limitations began to run when the factual

 predicate for a claim against the BPD became apparent to Plaintiff due to his own “blameless

 ignorance” preventing him from discovering the cause of action earlier. Nicolazzo v. United States, 786

 F.2d 454, 455-56 (1st Cir.1986). Plaintiff admits he felt liberated to address his sexual abuse as early

 as May 2005 on the death of his father. (SMF 354).

            Yet, between 2005 and 2014 Lauzon did not communicate with anyone connected with the

 BPD concerning Dodd. (SMF 365).9 Plaintiff’s failure to contact the BPD is another indicium of his

 lack of reasonable diligence in pursing his claim given his longstanding knowledge of Dodd’s

 connection with the BPD and the role that connection allegedly played in Plaintiff’s abuse. (ECF No.

 3-1, ¶ ¶ 13-15 and 45 at 22 and 26 SMF 365-66).

            Even assuming Plaintiff pursued his claim with “reasonable diligence”, nothing in the factual

 record supports Plaintiff’s claim that the data Plaintiff “first discovered” during his social media

 campaign in 2014-2015 rises to the level of facts that were “inherently unknowable” or incapable of

 detection before the                             expiration of limitations. Three primary factors support the

 City Defendants’ assertion that Plaintiff’s social media discovery was capable of prior detection. First,

 the individuals providing the information were either known or readily knowable to the Plaintiff. 10

 Second, the foundational sources of the information provided were recollections, opinions and



 9
   Plaintiff had a duty to inquire of BPD or the City regardless of whether the City Defendants had a duty to disclose any
 particular information. Z.B. ex rel. Next Friend v. Ammonoosuc Cmty. Health Servs., Inc., 2004 WL 1571988, at *8 (D. Me.
 June 13, 2004), report and recommendation adopted sub nom. Z.B. ex rel. Kilmer v. Ammonoosuc Cmty. Health Servs., Inc., 2004 WL
 1925538 (D. Me. Aug. 31, 2004) citing Cragin v. United States, 684 F. Supp. 746, 755 (D.Me.1988). As the Plaintiff failed to
 make any inquiry of the City or the BPD, the discovery rule does not protect him from an untimely filing of his claim. Id.

 10   See supra pp. 3-4 and accompanying notes regarding Drake and Clark, and p. 4-5 regarding Davis and Devou.

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 speculations about events, most of which occurred before the statute of limitations was triggered in

                  and all of which was known before the statute expired in 2009. Third, the nature of the

 transmittals varied widely from hand-written statements to internet communications, but none of the

 individuals providing the information were prohibited from sharing the information with the Plaintiff

 in 2014-20015 or before.

          Plaintiff’s apparent ability to uncover the information that lead to the claims against the City

 Defendants after only “preliminary investigations into the claims made in this complaint” supports

 City Defendants’ contention that the information was inherently knowable after a reasonably diligent

 search. (SMF 396).

          3.        The Lack of a Viable Constitutional Liability Finding Against Dodd Precludes
                    the Constitutional Claims Against the City Defendants.

          The Plaintiff conceded, by virtue of the alteration of legal claims now set in the Amended

 Complaint, that his civil rights action against Dodd is time-barred by the six-year statute of

 limitations.11 The failure to submit a timely civil rights complaint against Dodd also compels the

 dismissal of the civil rights claims against them.

          In Nieves, 241 F.3d at 50, the First Circuit held that a time-barred claim against an individual

 actor forecloses governmental entity or supervisory liability arising out of the same alleged deprivation

 of constitutional rights. The City Defendants renew their contention that the holding of Nieves and

 the First Circuit precedent on which it relies compel the dismissal of the Amended Complaint.

 Moreover, this circuit’s rule on governmental entity and supervisory liability is consistent with the

 Supreme Court’s seminal decisions in Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 663 (1978) and City of

 Los Angeles v. Heller, 475 U.S. 796, 797-98 (1986). Nieves underscores the First Circuit rule holding that


 11
   Plaintiff stipulated to the dismissal of his civil rights claim against Dodd on statute of limitations grounds, seeking to
 hold him liable only for sexual assault, for which there is no limitation by virtue of legislative action prior to the alleged
 abuse of Dodd. (ECF No. 41 at 3 and 15). For analogous reasons, state law claims against City Defendants were also
 dismissed. (ECF No. 41 at 4-5).

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 claims against a municipality must fail where the claims against the individual employee has been

 dismissed. Nieves relies on two prior First Circuit decisions12 in support of the rule. Nieves, 241 F.3d

 at 50.

          In Nieves, Judge Selya, writing for the Court of Appeals, confronts a situation like the matter

 at bar where there will be no finding that the Plaintiffs’ constitutional rights were not violated, but the

 allegations against the line officer were time-barred, thus precluding and finding of an underlying

 constitutional violation.13 Judge Selya offered a brief explanation of why the municipal and supervisory

 claims must fail: based on First Circuit precedent, the underlying claims against the individual officers

 have been “jettisoned.” Nieves, 241 F.3d at 50.

          The nature of the underlying constitutional claim in Nieves, provable or not, was irrelevant.

 Nieves held that a time-barred claim against an individual actor forecloses governmental entity or

 supervisory liability arising out of the alleged deprivation of constitutional rights by the individual.

 241 F.3d at 50.14

                    II. Dodd Was Not Acting “Under Color of Law” at the Time of the
                        Plaintiff’s Sexual Abuse

 12
    Under Evans v. Avery, 100 F.3d 1033 (1st Cir. 1996) and Martinez v. Colon, 54 F.3d 980 (1st Cir. 1995) there can be no
 municipal liability in the absence of a custom or policy which could proximately cause a violation of a person’s rights,
 Evans, 100 F.3d at 1040, nor can there be supervisory liability where there is no constitutional violation in the first place.
 Martinez v. Colon, 54 F.3d at 990. Both cases are akin to U.S. Supreme Court precedent in Heller, 475 U.S. at 797-98,
 where the Court ruled that when a jury returned a verdict for defendant police officer in a §1983 claim for unreasonable
 force, that verdict precluded a verdict against the city and the police commission. Heller, 475 U.S. at 797-98.
 13Plaintiffs in Nieves sued officers who arrested him over three years earlier, the chief of police, and the town alleging a
 conspiracy to deprive them of their constitutional rights. 241 F. 3d at 49. The District Court determined that claims
 relating to the alleged conspiracy were time barred by Massachusetts’ three-year statute of limitation - as to both the
 individual officers, city and chief of police - and the First Circuit and Court of Appeals upheld the ruling.
 14Nieves controls the outcome of Defendant’s motion for summary judgment in this case under the doctrine of “law of
 the circuit.” Generally, a panel in a multi-panel circuit is bound by prior panel decisions closely on point. See Eulitt ex rel.
 Eulitt v. Me. Dep't of Educ., 386 F.3d 344, 349 (1st Cir. 2004). This doctrine is a corollary of stare decisis as it preserves
 and protects the judiciary's commitment to finality, stability, and certainty in the law. United States v. Rodriguez, 527 F.3d
 221, 224 (1st Cir. 2008). The emergence of different views, without more, does not justify a repudiation of circuit
 precedents. See, e.g., Rodriguez, 311 F.3d at 438-39.

 A trial judge within the circuit must follow circuit precedent. Harrison v. Granite Bay Care, Inc., No. 2:13-CV-123-DBH,
 2014 U.S. Dist. LEXIS 123665, at *2 (D. Me. Sep. 4, 2014), rev’d by Harrison v. Granite Bay Care, Inc., 811 F.3d 36 (1st Cir.
 2016).

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                                    A. Overview and Factual Background

            In order to establish constitutional violations under Section 1983 against the City Defendants,

 Plaintiff must prove that Dodd was acting “under color of state law” at the time of the alleged sexual

 abuse. The City Defendants contend that Dodd’s conduct was not “under color” as it had no

 relationship to his BPD duties, occurred without any of the indicia of an “on-duty” police officer and

 was solely for a private purpose. Moreover, there is no constitutional duty requiring the City

 Defendants to protect others from private harm and the record demonstrates no actual or constructive

 knowledge of Plaintiff’s abuse by Dodd. Each legal issue will be explored following a brief factual

 outline.

            Co-Defendant, Stephen Dodd is a gay man who worked at BPD from 1978-2003. (SMF 20-

 23 and 28). Dodd never disclosed his sexual orientation to co-workers or others connected with the

 BPD and did not engage in sexual activity with any member of the BPD. (SMF 29-35). At the time

 of his sexual interaction with Lauzon, Dodd was a patrol shift supervisor with the rank of Sergeant.

 (SMF 22).

            On July 27, 2000, the BPD responded to a complaint by the Lauzon family concerning a

 telephone call to the house by a known sexual offender, Michael McKeown, which the family believed

 was harassment. (SMF 66-91). BPD Detectives and a patrol officer appeared at the Lauzon home and

 took statements from family members. (SMF 82-93). Lauzon erroneously believed that Dodd was

 one of the three BPD officers at his home. (SMF 81, 93 and 95). That day, Lauzon denied any prior

 sexual interaction with McKeown, which was untruthful. (SMF 36-65 and 92-116). The BPD

 detectives concluded that McKeown had not violated any criminal laws. (SMF 117). A report was

 written by the patrol officer concerning his visit to the home, but that report was not read by Dodd.

 (SMF 118-124).

            Sometime “weeks or months later” Dodd and Lauzon connected on the internet, while both
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 were at their respective homes when Dodd was not on duty. (SMF 125, 135-139, 140-143 and 148-

 150). Dodd did not use police equipment to contact the Plaintiff. (SMF 152-153). Dodd did not

 conceal his identity as a police officer as it had been acknowledged during the internet connection.

 (SMF 144-146 and 151). The two set up a meeting near Plaintiff’s home in Biddeford for later in the

 day. (SMF 164). Although Lauzon has made various statements that his abuse by Dodd took place

 between the ages of 13-15 years old, Dodd believed Lauzon was age 16 at the time and of the age of

 consent. (SMF 126-136 and 157-163).

         Dodd was in his private vehicle at the time of the meeting, was off duty from his position as

 a uniformed patrol supervisor, was not wearing his police uniform and was not carrying his service

 revolver. (SMF 166, 171-173 and 177). Dodd was not acting for work-related reasons and he believed

 his actions toward Lauzon were as a private citizen. (SMF 176-177). Dodd did not use his official

 position to exert influence or physical control over the Plaintiff. (SMF 151, 175 and 192-195).

 Although Lauzon and Dodd initially met in Biddeford, Lauzon did not want to go to Dodd’s home,

 so Dodd drove to a neighboring town, outside the jurisdiction of BPD. (SMF 178-180).

         Dodd did not display his badge, did not have his BPD issued service revolver on his person,

 and he did not promise to act for Lauzon as a police officer. (SMF 148-150 and 173-176). Lauzon

 made various statements about feeling threatened by the presence of a gun (SMF 181-191), he

 acknowledged he was “emotional and exaggerated” when he stated that to Sgt. Greenwood in October

 2014, and Dodd never threatened him with a gun (SMF 181-195 and 495).15

         After the initial encounter Dodd and Lauzon had another sexual interaction “weeks or




 15
   Lauzon’s lack of candor concerning his conflicting statements about the presence of a gun and whether and how it
 was used played a role in MeOAG declining to prosecute Dodd in a criminal proceeding. (SMF 191-193, 478, 492-497
 and 501-502).


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 months” later in exchange for a case of beer. (SMF 210-218).16 As with the initial contact, the second

 sexual interaction with Dodd occurred near the Lauzon family home, while Dodd was off duty, in

 civilian clothes, driving his personal vehicle, and acting as a private citizen. (SMF 220-221 and 223-

 227). The record fails to demonstrate any indication Dodd was engaged in anything but a private

 purpose. (Id.).

          A third encounter may have been scheduled between Dodd and Lauzon in exchange for

 payment of money. (SMF 210-219 and 228-234).17

                                      B. Legal Argument

          Section 1983 created a federal cause of action for damages to vindicate alleged violations of

 federal law committed by individuals acting “under color of state law.” 42 U.S.C. § 1983; see also Wyatt

 v. Cole, 504 U.S. 158, 161 (1992) (“[T]he purpose of § 1983 is to deter state actors from using the badge

 of their authority to deprive individuals of their federally guaranteed rights and to provide relief to

 victims if such deterrence fails.”); Owen v. City of Independence, 445 U.S. 622, 650 (1980) (§ 1983 was

 designed “to provide protection to those persons wronged by the ‘[m]isuse of power’”).

          The “under color of state law” requirement is “a jurisdictional requisite for a § 1983 action,”

 Polk County v. Dodson, 454 U.S. 312, 315 (1981), which, like its state action counterpart, furthers the

 fundamental goals of “preserv[ing] an area of individual freedom by limiting the reach of federal law

 and federal judicial power ... [and] avoid[ing] imposing on the State, its agencies or officials,


 16Although Lauzon has now appeared to settle on having only two sexual interactions with Dodd (SMF 211), he has
 made various statements to others concerning the nature and extent of his sexual abuse: “over a period of several
 years…by a police officer” (SMF 208 and 209); sexual interactions with other teenagers while police officers watched
 (SMF 207); abused by multiple people from middle school through high school (SMF 205 and 235); abused “on a
 number of occasions” by a police officer (SMF 204); and when initially asked how many sexual encounters he and Dodd
 had, he responded “less than 10” (SMF 203).

 17Two other homosexual contacts with Lauzon’s contemporaries were allegedly arranged by Dodd for either payment of
 money to Lauzon or for sexual experimentation and exchange of marijuana. (SMF 11 and 238-260). Dodd denies
 arranging sexual activity for Lauzon with his age contemporaries (SMF 248) and one of the contemporaries, Jonathan
 Clark, has testified he and Lauzon made their own arrangements for potential sexual interaction over the internet which
 was initiated by Lauzon. (SMF 250-251). Regardless of the veracity of the claims, neither episodes contain any indicia of
 action by Dodd “under color” of law.

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 responsibility for conduct for which they cannot fairly be blamed.” Lugar v. Edmondson Oil Co., 457

 U.S. 922, 936 (1982). Thus, private conduct that is not “fairly attributable” to the governmental entity

 is simply not actionable under § 1983, Rendell–Baker v. Kohn, 457 U.S. 830, 838 (1982); see also D.T. ex

 rel. M.T. v. Independent School Dist. No. 16, 894 F.2d 1176, 1186 (10th Cir.), cert. denied, 498 U.S. 879

 (1990).

           “The traditional definition of acting under color of state law requires that the defendant in a §

 1983 action have exercised power ‘possessed by virtue of state law and made possible only because

 the wrongdoer is clothed with the authority of state law.’” West v. Atkins, 487 U.S. 42, 49 (1988)

 (quoting United States v. Classic, 313 U.S. 299, 326 (1941)).

           1.      Dodd’s Conduct Had No Relationship to His BPD Duties and Occurred for a
                   Private Purpose.

           It is the Plaintiff's burden to plead, and ultimately establish, the existence of a real nexus

 between the Defendant's conduct and a governmental actor’s badge of state authority in order to

 demonstrate action was taken under color of state law. Joyola v. Chavez, 55 F.3d. 488, 494 (10th Cir.

 1995). “The key determinant is whether the actor, at the time in question, purposes to act in an official

 capacity or to exercise official responsibilities pursuant to state law.” Martinez v. Colon, 54 F.3d 980,

 986 (1st Cir. 1995). The fundamental question can be phrased in a slightly different way to the same

 effect: “whether [the officer's] actions related in some way to the performance of a police duty.” Gibson

 v. City of Chicago, 910 F.2d 1510, 1517 (7th Cir. 1990). Ultimately, the governmental actor must have

 as a purpose to act in an official capacity or to exercises official responsibilities pursuant to state law.

 Martinez, 54 F.3d at 986; see also David v. City and County of Denver, 101 F.3d 1344, 1352–53 (10th

 Cir.1996).

           In Martinez v. Colon, 54 F.3d 980 (1st Cir. 1995), an on-duty police officer, in uniform, used his

 service weapon recklessly while bullying a fellow officer and shot him. Id. at 982-83. The Court held

 that such bullying was not under color of law merely because he used his service revolver. Id. at 987-
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 88. In making this determination, the court considered whether the actions under review were

 consistent with actions taken by a police officer. The Court observed that an under color of law

 determination rarely depends on a single, easily identifiable fact, such as the officer's attire, the location

 of the act, or whether the officer acts in accordance with his or her duty. Martinez, 54 F.3d at 986.

 Instead one must examine “the nature and circumstances of the officer's conduct and the relationship

 of that conduct to the performance of his official duties.” Id.

         Here, the totality of the circumstances demonstrate that Dodd was not acting under color of

 law at the time of his sexual abuse of the Plaintiff. Although he may have made statements identifying

 himself as a police officer and wanting to assist after the Plaintiff’s denial of McKeown’s abuse (SMF

 140-147), nothing in his arrival or interaction with the Plaintiff suggested a relationship to his official

 duties as a member of the BPD. Dodd arrived in civilian clothes, while off-duty, in his personal vehicle

 and offered the Plaintiff an opportunity to travel to his home, not the police station.

         The two did discuss where to proceed after Lauzon was picked up at the designated location

 near Lauzon’s home, and Lauzon rejected the idea of going to Dodd’s home. (SMF 164-165 and 178-

 180). They ended up leaving the jurisdiction of BPD. (SMF 180). There was no discussion about

 what occurred with the Plaintiff and McKeown or of the false oral and written statements Plaintiff

 made in July 2000. (SMF 195). Nothing in Dodd’s personal interaction after the in-person meeting

 with the Plaintiff related to Dodd’s duties with BPD. (SMF 178-180 and 194-199). Dodd himself

 underscores this by insisting his conduct with Lauzon was as a private citizen. (SMF 176-177). There

 was no display of authority by badge or gun and the sexual interaction was commenced following a

 comment by Dodd that it was “ok to be gay.” (SMF 195).

         There are numerous cases in which police officers who are perpetrators of sexual or other

 misconduct, while either on-duty or off-duty, have been held not to be acting under color of state law.

 See Latuszkin v. City of Chicago, 250 F.3d 502, 506 (7th Cir. 2001) (off-duty officer was not acting under


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 color of state law when he killed a pedestrian while driving drunk because he was engaged in entirely

 private behavior and did not possess any indicia of his office at time of accident); Halwani v. Galli,

 2000 WL 968219, at *3 (E.D. Pa. July 13, 2000) (on-duty, uniformed police officer did not act under

 color of law because the altercation arose out of a personal dispute and the officer did not arrest or

 threaten to arrest the plaintiff); Parrilla-Burgos v. Hernandez-Rivera, 108 F.3d 445, 450-51 (1st Cir. 1997)

 (police officer on medical leave was not acting under color of state law when he displayed his

 identification, told patrons he was there to keep the peace, and then shot and killed a patron during

 bar fight); Roe v. Humke, 128 F.3d 1213, 1214 (8th Cir. 1997) (school resource police officer’s sexual

 abuse of an eleven-year-old school student on a Saturday while off-duty, driving his private vehicle at

 a private location was not acting under color in spite of prior on-duty contacts and parental permission

 to take the child for the particular outing at issue). See also Almand v. DeKalb County, 103 F.3d 1510,

 1513-15 (11th Cir. 1997) (police officer who gained access to girl's apartment on pretense of discussing

 police business, left apartment, and then raped girl after forcibly re-entering apartment not acting

 under color of state law); Haines v. Fisher, 82 F.3d 1503, 1508 (10th Cir. 1996) (on-duty police officers

 who staged a robbery of a convenience store as a practical joke on an acquaintance who worked there

 did not act under color of law because they did not use their state authority to carry out their plan);

 Johnson v. Hackett, 284 F. Supp.933, 937 (E.D. Pa 1968). (on-duty police officer’s instigation of a

 physical altercation and exchange of insulting names was purely “personal pursuit” and not under

 color).

           Similarly, other, non-law enforcement government actors engaging in misconduct both on-

 duty and off have been found not to be engaging in conduct “under color.” Beedle v. Wilson, 422 F.3d

 1059 (10th Cir. 2005). In Beedle a nurse’s aide sexually assaulted a heavily sedated hospital patient and

 was held not to be acting under color because she did not accomplish the assault by the exercise of

 “state-derived authority” over the patient. Id. at 1074. The court reasoned that the aide “engaged in


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 conduct wholly unrelated to her duties and authority as a nurse’s aide, conduct that could have been

 done by anyone who wandered into [the patient’s] room.” Id. at 1074-75. The mere occurrence of the

 assault, “while abhorrent,” was not sufficient to satisfy the “under color of state law” pleading

 requirement of a Section 1983 claim. Id. at 1975. See also Harris v. Rhodes, 94 F.3d 196, 197-98 (5th Cir.

 1996) (prison maintenance worker who punched inmate's nose not acting under color where incident

 involved “purely private aim and no misuse of state authority.”); D.T. by M.T. v. Independent School

 District No. 16 of Pawnee County, Oklahoma, 894 F.2d 1176, 1186–88 (10th Cir. 1990) (holding that school

 teachers who perpetrated sexual abuse against students during summer vacation were not state actors,

 and rejecting the argument that the teacher's “cloak of authority” satisfied the color of law

 requirement, reasoning that there was no real nexus between the sexual abuse and the public school).

         2.      There is No Constitutional Duty to Protect the Plaintiff from Private Violence.

         If the Amended Complaint implicates a claim of a duty to protect Lauzon from Dodd and a

 failure to properly execute that duty, such a claim runs afoul of longstanding United States Supreme

 Court precedent that precludes civil rights liability on a theory of failure to protect an individual against

 private violence. In DeShaney v. Winnebago Cnty. Dep't of Soc. Servs., 489 U.S. 189 (1989), a child sued

 for damages under the Civil Rights Act, claiming that employees of a state-run social service agency,

 on notice of a parent's abusive behavior, nonetheless failed to protect the child from the readily

 foreseeable danger. Id. at 193. The Supreme Court held that the Due Process Clause ordinarily does

 not require the state to protect an individual's life, limb, or property against the marauding of third

 parties not acting to the state's behalf. Id. at 196-197. See also Castle Rock v Gonzales, 545 U.S. 748

 (2005) (a town and its police department could not be sued under Procedural Due Process theory for

 failing to enforce restraining order which led to the murder of a woman’s children by her estranged

 husband).

         Since DeShaney, courts have held that private violence, even private violence engaged in by one


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 who happens to work for a governmental entity, has different legal ramifications than violence

 attributable to state action. Martinez v. Colon, 54 F.3d 980 (1st Cir. 1995). DeShaney has been construed

 to limit civil rights liability only in cases where the government's affirmative acts place a person in a

 worse position than had it not acted at all: the “state created danger” hybrid of the “duty to protect”

 theory. McIntyre v. United States, 336 F. Supp 2d 87, 114-115 (D. Mass 2004). Stated otherwise, civil

 rights liability under DeShaney would attach only where a state official acts to create or even markedly

 increase a risk; yet, inaction alone would raise no constitutional violation. Plaintiff’s claim here, that

 the City Defendants took no action, even when they should have, insulates them from “duty to

 protect” liability.

         A recent case in the District of Maine noted that to state a claim under the “state created

 danger” doctrine, a plaintiff must allege that state actors have taken affirmative steps to create or

 exacerbate the danger posed by a private individual. Hill-Spotswood v. Mayhew, 2015 WL 403931, 13-14

 (D. Me. Jan. 29, 2015). The Court observed that nonfeasance by a state actor, including unfulfilled or

 unkept promises to protect, does not deprive an individual of his or her liberty or ability to act. Id.

         3.       There Was No Actual or Constructive Knowledge of Dodd’s Abuse of Lauzon.

         The Plaintiff alleges that the City Defendants had actual or constructive knowledge of his

 incidents of abuse. “Imputation of constructive knowledge requires a showing that the underlying

 unconstitutional misconduct was ‘so widespread or flagrant that in the proper exercise of its official

 responsibilities the governing body should have known of [it].’” Thelma D. ex rel. Delores A. v. Board of

 Educ., 934 F.2d 929, 933 (8th Cir.1991) (quoting Spell v. McDaniel, 824 F.2d 1380, 1387 (4th

 Cir.1987), cert. denied, 484 U.S. 1027 (1988)). The Plaintiff has not made such a showing.

         To show actual knowledge, a plaintiff must prove that the state actors “received notice of a

 pattern of violations of … constitutional rights.” Jojola v. Chavez, 55 F.3d 488, 490 (10th Cir. 1995).

 In Jojola, a school custodian approached a minor student, “led her into a dark, vacant classroom” and


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 molested her. Id. The complaints against the school principal and superintendent were dismissed

 where the plaintiffs did not allege that either of them actually knew of the abuse, and no showing of

 constructive knowledge was made. Id. at 491. The plaintiffs alleged “four incidents and other rumors,”

 which the court found did not “demonstrate the requisite pattern of behavior necessary to support

 imposing liability” against the principal or superintendent. Id. Thelma D., 934 F.2d at 933 (“[F]ive

 complaints scattered over sixteen years cannot, as a matter of law, be said to comprise a persistent and

 widespread pattern of unconstitutional misconduct”); Jane Doe “A” ex rel. Jane Doe “B” v. Special Sch.

 Dist., 901 F.2d 642, 646 (8th Cir.1990) (even though various defendants were notified of isolated

 incidents occurring over a two-year period, no pattern of behavior was shown).

         The record fails to demonstrate any constructive knowledge on the part of Chief Beaupre that

 Dodd was going to abuse him. (SMF 261-266, 269-270 and 295-298). While Dodd had been

 investigated by the MSP in 1989 in connection with an allegation of sexual abuse brought by his foster

 son, Larry Carey, (SMF 522- 552), who was an adult at the time, the allegations were recanted by Carey

 and denied by Dodd (SMF 541-546), and no action was taken by the District Attorney nor deemed

 necessary by Chief Beaupre following the prosecutor’s decision. (SMF 547-552). Similarly, Dodd’s

 interaction with Bert Girard was not made known until 2002. (SMF 267-269). Moreover, the episode

 involving the adult Girard in the early 1980s over a punctured waterbed at Dodd’s apartment (SMF

 503-520) were not brought to the Chief’s attention at the time. (SMF 521). None of those events

 create actual or constructive notice for the City Defendants.

                  III. Chief Beaupre Is Entitled to Qualified Immunity

                                   A. Overview and Factual Background

         Count II of the Amended Complaint alleges that Roger Beaupre (“Chief Beaupre”) is liable

 in his individual capacity for violation of Plaintiff’s constitutional rights. See e.g., Graham v. Kentucky,

 473 U.S. 159, 166 (1985). Chief Beaupre asserts in defense the doctrine of qualified immunity,


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 which protects public officials from liability unless they violated clearly established rights. Harlow v.

 Fitzgerald, 457 U.S. 800, 807, 813-14 and 818 (1982). Chief Beaupre contends that his own individual

 actions at the relevant times alleged in the Amended Complaint did not violate clearly established

 constitutional law. Ashcroft v. Iqbal, 556 U.S. 662, 667 (2009). Following an outline of the pertinent

 facts, this memorandum will address the legal issues surrounding supervisory liability and Chief

 Beaupre’s qualified immunity to suit in his individual capacity.

          Chief Beaupre is currently the chief of the Biddeford Police Department (“BPD”) and has

 been since 1981.18 (SMF 13 and 17). During Chief Beaupre’s tenure as Chief of Police two

 members of BPD have been accused of sexual misconduct against minors and subject to

 investigations: a MeOAG investigation against Norman Gaudette in 1990-1991 (SMF 553-616); and

 two investigations of Stephen Dodd, one by the MSP in 1989 and another by MeOAG in 2002-

 2003. (SMF 19, 24-27, 261-277 and 522-552).

          The 1990-1991 MeOAG investigation of Gaudette for sexual abuse of minors did not reveal

 any evidence of sexual abuse of minors by Dodd. (SMF 616). Moreover, the record fails to establish

 facts of evidentiary value that Chief Beaupre did anything to interfere, constrain, control, delay,

 cover-up factual material, or otherwise engage in a violation of the constitutional rights of any

 individual during the 1990-1991 MeOAG investigation. (SMF 479-480, 565, 573-574, 577, 579-580,

 582-584). The MeOAG prosecutor presented a case involving Gaudette to the York County Grand

 Jury, which returned a “no bill”. (SMF 584-590). Contemporaneous with the Grand Jury

 presentation, Chief Beaupre authorized an Internal Affairs investigation against Gaudette which did

 not reveal sufficient evidence to support administrative action. (SMF 591-608). Chief Beaupre

 consulted with the City Solicitor and ultimately, Gaudette was required to be reinstated to his former


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    Chief Beaupre is a career law enforcement officer who started at BPD as a patrolman in 1971, and was appointed up
 the ranks to Sergeant, Lieutenant, Captain and Deputy Chief in 1978. (SMF 15-16). He has an undergraduate degree in
 criminal justice and a graduate degree in business administration. (SMF 14).

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 position. (SMF 609-613). No further allegations of sexual abuse of minors by Gaudette were made

 before the 2014-2015 MeOAG investigation into the Plaintiff’s interactions with Dodd. (SMF 614).

        The record reveals no evidence that Chief Beaupre was aware of the sexual abuse of Lauzon

 by Dodd during the time-frame it occurred or at any time before Lauzon’s report to BPD in

 October 2014. (SMF 236-237 and 628-629). Before the 2002-2003 MeOAG investigation, there

 were two episodes of law enforcement interaction with Dodd. One involved a domestic dispute call

 at Dodd’s apartment in the mid-1980s between Dodd and a young adult, Bert Girard. (SMF 503-

 521). The other involved vague allegations of sexual misconduct by Dodd in 1989 made by another

 young adult, Larry Carey, Dodd’s former foster child who continued living with Dodd. (SMF 522-

 552). Neither incident gave rise to information that would lead “every reasonable” police officer,

 Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011), to believe that Dodd was engaged in widespread sexual

 abuse of minors in Biddeford.

        The incident with Girard concerned a call for assistance in the mid-1980s when an adult

 Girard was living with Dodd. (SMF 503-507). The two men were engaged in some sort of

 altercation that resulted in a waterbed owned by Dodd being punctured. (SMF 505 and 508). BPD

 officers responded to the call, a report was written, and no criminal action was pursued because in

 the judgement of the responding officer there was no probable cause to arrest anyone. (SMF 509-

 513). At that juncture, no member of the BPD was aware of or had reason to believe that Dodd

 had engaged in sexual abuse of Girard at the time. (SMF 515-520). The information concerning

 Girard in the mid-1980s was not brought to Chief Beaupre’s attention at the time. (SMF 521). Even

 later, in November 1989, Chief Beaupre did not know Girard. (SMF 534). For his part, Girard did

 not report his sexual abuse by Dodd until almost twenty years later, during the 2002-2003 MeOAG

 investigation. (SMF 514).




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        In November 1989, Larry Carey made vague statements to BPD Deputy Chief Bruce Audie

 implying that he had been sexually abused by Dodd, which prompted a BPD referral to MeDHHS,

 the York County District Attorney’s Office (YCDAO) and the MSP, in accordance with the BPD

 policy at the time. (SMF 524 and 526-540). Dodd had taken Larry Carey into his home in 1986 as a

 foster child and co-parented him with a fellow BPD employee, Ms. Jacquith Godbout. (SMF 522-

 525). The MSP investigation revealed that Carey recanted his statements about sexual abuse by

 Dodd, and Dodd denied the allegations to MSP investigators. (SMF 541-546). The MSP took the

 results of their investigation to the YCDAO, a decision not to prosecute followed, and Chief

 Beaupre decided that the results of the MSP investigation did not warrant a separate Internal Affairs

 investigation. (SMF 548-552).

        During the 2002-2003 MeOAG investigation of Dodd, interviews revealed certain

 individuals made allegations that Dodd had sexually abused them (SMF 267-268 (redacted)), but no

 information reached the investigators concerning sexual abuse of Lauzon by Dodd. (SMF 269).

 MeOAG determined that no criminal actions could be pursued against Dodd because the allegations

 either lacked credible evidence to support criminal charges or the allegations were outside of the

 applicable statute of limitations. (SMF 318). Chief Beaupre, after consulting the City Solicitor,

 pressed the MCJA to begin a licensing action against Dodd to revoke his law enforcement

 certificate. (SMF 309-313 and 316-325).

        Lauzon made his allegations of sexual abuse by Dodd known to Maine law enforcement for

 the first time in October 2014. (SMF 7 and 389-390). During the 2014-2015 MeOAG investigation,

 the Plaintiff and his attorney claimed, as part of their social media campaign, that Chief Beaupre

 should be investigated for conspiracy for “sweeping information under the rug” and protecting

 Dodd because he was blackmailing Chief Beaupre. (SMF 460-463). The MeOAG investigation into

 Plaintiff’s speculative theories revealed no information that a conspiracy or coverup existed or that


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 anyone at BPD was engaged in actions to protect Dodd because of blackmail, and the record

 establishes that no such admissible evidence has been produced. (SMF 464-468, 630-639 and 653-

 663 and 665-668).

                                        B. Legal Argument

          1.        Chief Beaupre’s Individual Conduct Did Not Violate Plaintiff’s Constitutional
                    Rights.

          Before Iqbal, 556 U.S. 662, supervisors could be individually liable for their own, direct,

 constitutional misconduct against a person or under a theory of indirect liability in the training,

 supervision or control subordinates. Polk County v. Dodson, 454 U.S. 312, 325-326 (1981). In Iqbal,

 the Court declared that “the term ‘supervisory liability’ is a misnomer” and required that “each

 Government official, his or her title notwithstanding, is only liable for his or her own misconduct.”

 Iqbal, 556 U.S. at 667. Iqbal rejected the claim that a supervisor can be held liable for “knowledge

 and acquiescence” in their subordinate’s conduct because mere knowledge of a subordinate’s

 conduct does not amount to the supervisor violating the Constitution. Id.19

          The record does not establish that Chief Beaupre was engaged directly in violating Lauzon’s

 constitutional rights or that he was present when another member of the BPD did so. Thus, the

 focus of any individual constitutional liability turns on the continuing viability, or not, of supervisory

 or indirect constitutional liability. The Supreme Court’s mandate of Iqbal to limiting the liability of

 supervisors has received a mixed reaction in the Courts of Appeal.20Chief Beaupre contends that the

 undisputed facts here and the precedent either do not permit supervisory liability or, if so, he has a

 qualified immunity from suit under the circumstances.


 19
    The First Circuit has acknowledged that Iqbal requires that each defendant must violate the Constitution in order for
 liability to attach. Maldonado v. Fontanes, 568 F.3d 263, 275 n. 7 (1st Cir. 2009).

 20 The First Circuit is among those appellate courts that have so far declined to “recast the contours of supervisory
 liability in the aftermath” of Iqbal. See Ramierz v. Lluveras v. Rivera-Merced, 759 F.3d 10, 19 (1st Cir. 2014). The Court’s pre-
 Iqbal opinion in Whitfield v. Melendaez-Rivera, 431 F.3d 1, 14 (1st Cir. 2005) is representative of its supervisory liability
 approach.

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          Liability of a supervisor cannot be based upon “knowledge and acquiescence” in the

 constitutional conduct of others. Iqbal, 556 U.S. at 667. The Court wrote that “purpose rather than

 knowledge is required to impose … liability on the subordinate for unconstitutional discriminations;

 and the same holds true for an official charged with violation arising from his or her superintendent

 responsibilities.” Id. As a result of Iqbal, a plaintiff must show that a supervisor possessed

 discriminatory intent in order to adequately state a claim that “a supervisor behaved knowingly or

 with deliberate indifference that a constitutional violation would occur at the hands of a

 subordinate.” See, e.g., Dodds v. Richardson, 614 F.3d 1185, 1204 (10th Cir. 2010) (internal quotations

 omitted).

          Although the First Circuit maintains a theory of indirect, supervisory liability, Rivera-Merced,

 759 F.3d at 19, its general rules for supervisory liability are worth noting, and bar indirect liability

 under this record. The tort theory of respondeat superior does not allow imposition of supervisory

 liability under § 1983. See, e.g., Grajales v. P.R. Ports Auth., 682 F.3d 40, 47 (1st Cir. 2012). Further, §

 1983 liability cannot rest solely on a defendant's position of authority. Ocasio–Hernández v. Fortuño–

 Burset, 640 F.3d 1, 16 (1st Cir. 2011). Proof that a supervisor was negligent is also insufficient. See,

 e.g., Ramos v. Patnaude, 640 F.3d 485, 490 (1st Cir. 2011).

          Notwithstanding its failure to abrogate indirect liability, our Court of Appeals emphasizes

 the heightened sense of proof required. It observed: “[a]fter Iqbal, as before, we have stressed the

 importance of showing a strong causal connection between the supervisor's conduct and the

 constitutional violation.” Rivera-Merced, 759 F.3d at 19.21




 21
   A plaintiff must prove causation by showing a “known history of widespread abuse sufficient to alert a supervisor to
 ongoing violations.” Maldonado–Denis v. Castillo–Rodriguez, 23 F.3d 576, 582 (1st Cir. 1994). However, proof of that sort
 must truly show “widespread” abuse; “isolated instances of unconstitutional activity ordinarily are insufficient . . . to
 show deliberate indifference.” Id.

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         “[T]he plaintiff must show that the official had actual or constructive notice of the

 constitutional violation.” Feliciano-Hernandez v. Pereira-Castillo, 663 F.3d 527, 533 (1st Cir. 2011). This

 record is not sufficient to put Chief Beaupre on notice that Dodd presented a “substantial,”

 “unusually serious,” or “grave risk” of sexual abuse of a minor before Lauzon’s abuse. Rivera-Merced,

 759 F.3d at 19–23. See Ruiz–Rosa v. Rullan, 485 F.3d 150, 157 (1st Cir. 2007); Figueroa–Torres v.

 Toledo–Dávila, 232 F.3d 270, 279 (1st Cir. 2000); Bowen v. City of Manchester, 966 F.2d 13, 17 (1st Cir.

 1992); accord Camilo–Robles v. Hoyos,151 F.3d 1, 7 (1st Cir. 1998).

         2.      Qualified Immunity Bars the Plaintiff’s Individual Capacity Action.

         The Supreme Court has long recognized that police officers are protected from liability

 under 42 U.S.C. § 1983 by the defense of qualified immunity. Pierson v. Ray, 386 U.S. 547, 557 (1967)

 (“We hold that the defense of good faith and probable cause … available to the officers in the

 common-law action for false arrest and imprisonment, is also available to them in the action under s

 1983.”). That defense “is intended to provide government officials with the ability ‘reasonably [to]

 anticipate when their conduct may give rise to liability for damages.’” Anderson v. Creighton, 483 U.S.

 635, 638 (1987). Applying a standard of liability that allows a court to impose civil rights liability

 based upon less than affirmative individual conduct is inconsistent with the qualified immunity

 doctrine. Id. (emphasis added). As with the supervisory liability formulation in Iqbal, qualified

 immunity shields individuals from liability “as long as their actions could reasonably have been

 thought to be consistent with the rights they are alleged to have violated.” Id. (emphasis added).

         Qualified immunity is a doctrine that accommodates the need to balance “the importance of

 a damages remedy to protect the rights of citizens” and “the need to protect officials who are

 required to exercise their discretion and the related public interest in encouraging the vigorous

 exercise of official authority.” Harlow, 457 U.S. at 807. As the Court explained, “government

 officials performing discretionary functions generally are shielded from liability for civil damages


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 insofar as their conduct does not violate clearly established statutory or constitutional rights … ” Id.

 at 818 (citations omitted).22 In al-Kidd, 563 U.S. at 741 the Supreme Court held:

             A government official’s conduct violates clearly established law when, at the time of
             the challenged conduct, ‘[t]he contours of [a] right [are] sufficiently clear’ that every
             ‘reasonable official would have understood that what he is doing violates that right.’
             We do not require a case directly on point, but existing precedent must have placed
             the statutory of constitutional question beyond debate.

 (quoting Anderson, 483 U.S. at 640).

             Qualified immunity involves two distinct questions. First, “[t]aken in the light most favorable

 to the party asserting the injury, do the facts alleged show the officer’s conduct violated a constitutional

 right?” Saucier v. Katz, 533 U.S. 194, 201 (2001). And second, “if a violation could be made out on a

 favorable view of the parties’ submissions,” was the right “clearly established” in a particularized sense

 (meaning that it must have been “clear to a reasonable officer that his conduct was unlawful in the

 situation he confronted”)? Id. at 201-02. The qualified-immunity analysis is essentially the same

 regardless of whether a defendant seeking immunity is a supervisor or subordinate. In each, the

 relevant question is whether every reasonable official in a defendant’s position would understand his

 alleged conduct to be illegal.

             The record contains no evidence in support of Plaintiff’s general assertion that Chief

 Beaupre’s failure to adequately train, supervise, or reprimand Dodd constitute reckless or callous

 indifference. Further, the record establishes no affirmative link between Chief Beaupre’s acts or

 omissions and Dodd’s alleged violation of Lauzon’s constitutional rights.23 See Santana-Castro v.



 22
   Defendant does not challenge the notion that Dodd’s sexual abuse of Lauzon (the occurrence of which it assumes for
 purposes of this motion), could have constituted a violation of clearly established constitutional rights. See, e.g. Schneider v.
 City of Grand Junction Police Dep't, 717 F.3d 760, 769 (10th Cir. 2013) (recognizing that a woman’s “right to bodily integrity,
 which is a substantive due process” right, was violated when she was sexually assaulted by a police officer); Abeyta ex rel.
 Martinez v. Chama Valley Indep. Sch. Dist. No. 19, 77 F.3d 1253, 1255 (10th Cir. 1996) (“Sexual assault or molestation by a
 school teacher violates a student’s substantive due process rights”). Defendant’s assumption here not does not concede
 that Chief Beaupre’s own conduct violated Plaintiff’s right to bodily integrity.

 23
      See supra note 22.

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 Toledo-Davila, 2008 WL 11424095, at *4–5 (D.P.R. May 13, 2008), order amended on reconsideration, 2008

 WL 11424094 (D.P.R. June 9, 2008), and aff'd, 579 F.3d 109 (1st Cir. 2009). Chief Beaupre did not

 engage in any tacit or explicit ratification of Dodd’s prior sexual abuse. Indeed, upon learning of

 Dodd’s alleged wrongdoing, he directed the matter be investigated, and eventually assisted in forcing

 a conclusion to Dodd’s law enforcement career. (SMF 316-325, 326-335 (redacted) and 344-351).

 See, e.g., M.S. v. Belen Consol. Sch. Dist., 2017 WL 3057662, at *6–8 (D.N.M. July 18, 2017), appeal

 dismissed sub nom. M.S. v. City of Belen, 2017 WL 7410291 (10th Cir. 2017). More importantly, the

 record does not establish that Chief Beaupre “knew or reasonably should have known” that Dodd

 was sexually assaulting Lauzon in the pertinent period. Regardless of how Plaintiff characterizes

 Chief Beaupre’s conduct in administering departmental affairs involving internal and external

 investigations, it is an unjustified leap to infer that Chief Beaupre knew Dodd was sexually abusing

 Lauzon. See Rall v. Hobbs Municipal School District, 2016 WL 10588124 (D.N.M. March 16, 2016).

                                         Conclusion

         The City Defendants respectfully request that this Court grant their Motion for Summary

 Judgment.

         Dated at Kennebunk, Maine this 4th day of March 2018.

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                                   CERTIFICATE OF SERVICE

          I, Michael E. Saucier, Esq., hereby certify that on March 4, 2018, I electronically filed the
 foregoing City Defendants’ Partial Motion for Summary Judgment and Memorandum of Law in
 Support, with the Clerk of Court using the CM/ECF system, which will send notification of such
 filing(s) to all attorneys and parties listed below:

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